Case 1:21-cr-00447-CJN Document 35-3 Filed 07/30/21 Page 1of1

Cheveland BAPTIST CHURCH

A Fleaté for Lakeland, A Tisian for the World

 

 

 

July 24, 2021

Honorable Carl J. Nichols
United States District Judge
United States Courthouse

333 Constitution Avenue, N.W.
Washinton D.C. 20001

RE: Case No. 21-cr-00447-CJN-03
USA v. Joshua C. Doolin

Dear Honorable Judge Nichols,

My name is Michael Kyle Ivey, I am the pastor of Cleveland Heights Baptist Church in Lakeland, FL.

I have come to know Joshua Doolin from his attending the church. I have personally known him now
for about seven years. When he started attending church at Cleveland Heights Baptist I was the youth
pastor and he was a member of my youth group. He attended our youth camps and was involved in our
church events and fundraisers. He has even spoken publicly and given testimony of his faith. He also
has been on a church group mission trip to Guyana to help and serve in our missionary's church.

Josh is dependable, faithful, and helpful to our church and community, He has a caring, loving, and
compassionate heart for others. He is important to me and our church family at Cleveland Heights
Baptist Church. As I have watched him mature into a young man, he has shown responsibility,
determination, and strength in setting and achieving goals in life. I have always known him to work
and keep a job in order to provide for himself financially. Even through school and work, Josh would
still find time for church and often give praise to the Lord publicly for how good He has been to him.

It is my belief that Josh Doolin can and will do great things for his family, community, and the Lord. I
believe that he deserves the opportunity to redeem himself and show society and the Lord what he can
truly accomplish in life. I ask for mercy and compassion upon him, and that the God of heaven will
give you all wisdom and understanding needed in all that you preside over. May God bless you and
your family. Thank you for your time and consideration.

  

Senior Pastor

smi

SS a a
3120 Cleveland Heights Blvd. Lakeland, FL 33803 ° 863-646-9494
